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United States Bankruptcy Court for the:

District of Delaware
(State)

number (/f known) Chapter _11
Ce +e 3TTO]

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If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case

number (if known). For more information, a separate document, /nstructions for Bankruptcy Forms for Non-Individuals, is available

1. Debtor’s name

Ethos Holdings, LLC

2. All other names debtor used N/A
in the last 8 years

Include any assumed names,

trade names, and doing business
as names

3. Debtor’s federal Employer 83

_26 911 83
Identification Number (EIN)

4. Debtor’s address Principal place of business

1099 18th Street Suite 2860

Number Street

Denver CO 80202

City State ZIP Code

Denver County

County

5. Debtor’s website (URL) N/A

Mailing address, if different from principal place
of business

Number Street

P.O. Box

City State ZIP Code

Location of principal assets, if different from
principal place of business

7282 Ellis Street

Number Street

Arvada CO 80005

City State ZIP Code

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Debtor Ethos Holdings, LLC

Case number (if known)

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

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Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
L) Other. Specify:

A. Check one:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
LJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CL) Railroad (as defined in 11 U.S.C. § 101(44))

L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

1) None of the above

B. Check all that apply:

L) Tax-exempt entity (as described in 26 U.S.C. § 501)

L) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CL) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes .

511 5

Check one:

L) Chapter 7
LJ Chapter 9
w Chapter 11. Check all that apply:

() The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

LJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

LIA plan is being filed with this petition.

Q) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

CJ Chapter 12

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Subier Ethos Holdings, LLC

Name

Case number (if known)

9. Were prior bankruptcy cases (X] No
filed by or against the debtor
within the last 8 years? Q) Yes. District When Case number
MM/ DD/YYYY

If more than 2 cases, attach a

separate list. District When Case number

MM/ DD/YYYY

10. Are any bankruptcy cases 2 No
ending or being filed by a ; a3
Susinens Sarina oran y QW Yes. Debtor Nantwich Clay Path, Inc. Relationship Affiliate
affiliate of the debtor? District Delaware wera 08/24/2023
List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this Check all that apply:

district? ‘ec fail 4 basi icsiittee <afficih
L} Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

XI A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave [)No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check all that apply.)
attention?

Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

() It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CL) It needs to be physically secured or protected from the weather.

CL} It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

@ Other

Where is the property?_ “282 Ellis Street

Number Street
Arvada CO _ 80005
City State ZIP Code

Is the property insured?

LI No
Yes. Insurance agency Statefarm

1 (800) 782-8332

Phone Tyler

aed Statistical and administrative information

Contact name

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Cater Ethos Holdings, LLC

Name

Case number (if known)

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

&) Funds will be available for distribution to unsecured creditors.

U) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

XX) 1-49

L) 50-99
LJ 100-199
L) 200-999

CL) $0-$50,000

UL) $50,001-$100,000
LJ $100,001-$500,000
L) $500,001-$1 million

L) $0-$50,000

LJ $50,001-$100,000
LJ $100,001-$500,000
LJ $500,001-$1 million

LJ 1,000-5,000
CL) 5,001-10,000
L) 10,001-25,000

QQ $1,000,001-$10 million

CJ $10,000,001-$50 million
CJ $50,000,001-$100 million
LJ $100,000,001-$500 million

&X] $1,000,001-$10 million

LJ $10,000,001-$50 million
CL) $50,000,001-$100 million
LY $100,000,001-$500 million

L) 25,001-50,000
CL) 50,001-100,000
L) More than 100,000

L) $500,000,001-$1 billion

LI $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
LJ More than $50 billion

LU) $500,000,001-$1 billion

C2 $1,000,000,001-$10 billion
L} $10,000,000,001-$50 billion
L) More than $50 billion

ae for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Quasi Gordon

Printed name

Signatheel“of authorized representative of debtor

Title President

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Ethos Holdings, LLC

Debtor Case number (if known)
Name
18. Signature of attorney x
Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

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Contact phone

Email address

Bar number

State

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In addition to Detor identified in Section 10 above please see other case
related to this Debtor.

. Are any bankruptcy cases UO) No
ending or being filed by a : ays
cones anne oran Y W Yes. pedir Rustic Forest, LLC Relationship _Affiliate
affiliate of the debtor? pisticte Uelaware When 08/24/2023
List all cases. If more than 1, MM / DD /YYYY

attach a separate list. Case number, if known

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Cock\e Rock, CO GO\OF

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